Case 1:09-cv-01011-GBL-TRJ Document 61-1 Filed 05/02/13 Page 1 of 2 PageID# 181




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 ______________________________________
                                                     )
 UNITED STATES OF AMERICA, ex rel.,                  )
 WILLIAM JONES,                                      )
                                                     )    Civil No.: 1:09 Civ. 1011 (GBL) (TRJ)
                            Plaintiff,               )
        v.                                           )
                                                     )
 ANIXTER INTERNATIONAL INC., et al.,                 )
                                                     )
                      Defendants.                    )
 ______________________________________

                                               ORDER

        The United States, having intervened in part in this action for the purpose of effectuating

 the settlement agreement (“the Settlement Agreement”) between the United States, defendants

 Anixter International, Inc. (“Anixter”), American Systems Corporation (“American Systems”),

 Corning Incorporated (“Corning”), and relator William Jones (“Relator”), and having declined to

 intervene with respect to Relator’s allegations in the Amended Complaint not covered by the

 settlement, pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(2) and (4), and the United

 States and Relator having filed a Joint Stipulation of Dismissal pursuant to Fed. R. Civ. P. 41(a),

        IT IS HEREBY ORDERED that:

        1.      Relator’s Amended Complaint, the United States’ Notice of Election to Intervene

 in Part and to Decline to Intervene in Part, the Joint Stipulation of Dismissal, and this Order be

 unsealed;

        2.      all other contents of the Court’s file in this action shall remain under seal;

        3.      all other matters occurring in this action after the date of this Order shall be filed

 publicly and not under seal;
Case 1:09-cv-01011-GBL-TRJ Document 61-1 Filed 05/02/13 Page 2 of 2 PageID# 182




        4.      consistent with the terms of the Settlement Agreement, the False Claims Act

 claims asserted by Relator in this action on behalf of the United States and against American

 Systems, Anixter, and Corning for the Covered Conduct as defined in Paragraph F of the

 Settlement Agreement are dismissed with prejudice;

        5.      the remaining False Claims Act claims asserted by Relator on behalf of the United

 States, as well as claims asserted by Relator in his individual capacity, and against American

 Systems, Anixter, and Corning in which the United States has not intervened, are dismissed with

 prejudice to Relator and without prejudice to the United States; and

        6.       the claims asserted by Relator against all of the named defendants other than

 American Systems, Anixter, and Corning, are dismissed without prejudice to Relator and without

 prejudice to the United States.



        IT IS SO ORDERED, this _______ day of ____________________, 2013.


                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE




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